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                                     IN THE UNITED STATES BANUPTCY COURT

                                               FOR THE DISTRICT OF DELAWAR


 In re:                                                              )         Chapter 11
                                                                     )
 W.R. GRACE & CO., et aI.,l                                          )         Case No. 01-1139 (JKF)
                                                                     )         (Jointly Administered)
                                     Debtors.                        )
                                                                          Objection Deadline: February 5, 2010 at 4:00 p.m.
                                                                             Hearing Date: February 16,2010 at 10:30 a.m.

    NOTICE OF DEBTORS' MOTION FOR AN ORDER EXTENDING THE TERM OF
   THE CREDIT AGREEMENT WITH ADVANCED REFINING TECHNOLOGIES LLC

 TO: Parties required to receive notice pursuant to DeL. Bank. LR 2002-1.

                            The above-captioned debtors and debtors-in-possession (collectively, the

 "Debtors") filed the attached Debtors' Motion for an Order Extending the Term of the Credit

Agreement with Advanced Refining Technologies LLC (the "Motion") with the United States

Bankptcy Court for the District of                    Delaware, 824 Market Street, Wilmington, Delaware 19801

 (the "Bankptcy Court"). A true and correct copy of                      the Motion is attached hereto.

 1 The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/ka Grace Specialty Chemicals, Inc.), W.
R. Grace & Co.-Conn., A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB
Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food 'N
Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a Dewey and Almy
Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Parters I, Inc. (f/k/a Grace Cocoa Limited Parters
I, Inc.), G C Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC Management Corporation, GN
Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities Company, Inc., Grace A-B Inc., Grace A-B
II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace Driling Company, Grace Energy
Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel
Services Corporation, Grace International Holdings, Inc. (f/ka Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc.,
Grace Ventures Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation,
Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe Land Development Corporation, Hanover Square Corporation,
Homco International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation Management, Inc. (f/a
GHSC Holding, Inc., Grace Nf, Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe
Street, Inc., MRA Holdings Corp. (f/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (f/ka Nestor-
BNA, Inc.), MRA Staffng Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/a
Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin
& Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Parters (f/k/a Cross Country
Staffng), Hayden-Gulch West Coal Company, H-G Coal Company.



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            Responses to the relief requested in the Motion, if any, must be in writing and be filed

 with the Banptcy Court no later than 4:00 p.m. (prevailing Eastern time) on February 5,

 2010. At the same time, you must also serve a copy ofthe objections or responses, if any, upon

the following: (i) co-counsel for the Debtors, Theodore L. Freedman, Kirkland & Ellis LLP,

 Citigroup Center, 601 Lexington Avenue, New York, NY 10022-4611 (fax number 212-446-

4800), Janet S. Baer, The Law Offces of Janet S. Baer, P.C., 70 West Madison Street, Suite

2100, Chicago, IL 60602 (Fax number 312-641-2165); and James E. O'Neill, Pachulski Stang

Ziehl & Jones LLP, 919 North Market Street, 1 ih Floor, PO. Box 8705, Wilmington, DE

 19899-8705 (Courier 19801) (fax number 302-652-4400); (ii) counsel to the Official Committee

of   Unsecured Creditors, Lewis Krger, Stroock & Stroock & Lavan, 180 Maiden Lane, New

York, NY 10038-4982 (fax 212-806-6006), and Michael R. Lastowski, Duane, Morrs &

Heckscher, LLP, 1100 N. Market Street, Suite 1200, Wilmington, DE 19801-1246 (fax 302-

657-4901); (iii) counsel to the Official Committee of                    Property Damage Claimants, Scott L.

Baena, Bilzin, Sumberg, Dunn, Baena, Price & Axelrod, First Union Financial Center, 200 South

Biscayne Boulevard, Suite 2500, Miami, FL 33131 (fax 305-374-7593), and Michael B. Joseph,

Ferry & Joseph, P.A., 824 Market Street, Suite 904, P.O. Box 1351, Wilmington, DE 19899 (fax

302-575-1714); (iv) counsel to the Official Committee of                    Personal Injury Claimants, Elihu

Inselbuch, Caplin & Drysdale, Chartered, 375 Park Avenue, 35th Floor, New York, NY 10152-

3500 (fax 212-644-6755), and Marla Eskin, Campbell & Levine, LLC, 800 N. King Street, Suite

300, Wilmington, DE 19801 (fax 302-426-9947); (v) counsel to the Official Committee of

Equity Holders, Thomas M. Mayer, Kramer Levin Naftalis & Frankel LLP, 919 Third Avenue,

New York, NY 10022 (fax 212-715-8000), and Teresa K.D. Currer, Saul Ewing LLP, 222

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  Delaware Avenue P.O. Box 1266, Wilmington, DE 19899-1397 (fax 302-421-6813);

  (vi) counsel to the Future Claimants' Representative, Richard H. Wyron, Swidler Berlin Shereff

 Friedman, LLP, 3000 K Street, NW, Suite 300, Washington, DC 20007 (fax 202-424-7643), and

 John C. Phillips, Jr., Phillips, Goldman & Spence, P.A., 1200 North Broom Stre~t, Wilmington,

 DE 19806 (fax 302-655-4210); (vii) the Offce of              the United States Trustee, Attn: David

 Klauder, 844 N. King Street, Wilmington, DE 19801 (fax 302-573-6497); and (viii) counsel to

 the Property Damage Future Claimants' Representative, Karl Hill, Seitz, Van Ogtrop & Green,

 P.A., 222 Delaware Avenue, Suite 1500, P.O. Box 68, Wilmington, DE 19899 (fax 302-888-

 0606) and Alan B. Rich, Law Office of Alan B. Rich, Esq., 1201 Main Street, Suite 1910, LB

 201, Dallas, TX 75202 (fax 214-749-0325).

                          IF NO OBJECTIONS AR TIMELY FILED AND SERVED IN

 ACCORDANCE WITH THIS NOTICE, THE BANKUPTCY COURT MAY GRAT THE

RELIEF REQUESTED BY THE MOTION WITHOUT FURTHER NOTICE OR HEARG.

                          IN THE EVENT THAT AN OBJECTION OR RESPONSE IS FILED AND

SERVED IN ACCORDANCE WITH THIS NOTICE, A HEARING ON THE MOTION WILL




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BE HELD BEFORE THE HONORALE JUITH K. FITZGERALD ON FEBRUARY 16,

2010 AT 10:30 A.M., EASTERN TIME AT THE UNITED STATES BANKUPTCY COURT,

824 MART STREET, WILMINGTON, DELAWAR 19801.


Dated: January 15, 2010                      KILAN & ELLIS LLP
                                             Theodore L. Freedman
                                             David M. Bernick, P.c.
                                             Citigroup Center
                                             601 Lexington Ave.
                                             New York, New York 10022-4611
                                             Telephone: (212) 446-4800
                                             Facsimile: (212) 446-4900

                                             and

                                             THE LAW OFFICES OF JANT S. BAER P.C.
                                             Janet S. Baer, P.C.
                                             70 West Madison Street, Suite 2100
                                             Chicago, IL 60602
                                             Telephone: (312) 641-2162

                                             and

                                             PACHULSKI STANG ZIEHL & JONES LLP

                                             /s/ James E. O'Neill
                                             Laura Davis Jones (Bar No. 2436)
                                             James E. O'Neil (Bar No. 4042)
                                             Kathleen P. Makowski (Bar No. 3648)
                                             Timothy P. Cairns (Bar No. 4228)
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                                             Co-Counsel for the Debtors and Debtors in
                                             Possession




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